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                            IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF DELAWARE

                                                           )
In re:                                                     )     Chapter 11
                                                           )
Quicksilver Resources Inc., et al.,1                       )     Case No. 15-10585 (LSS)
                                                           )
                             Debtors.                      )     Jointly Administered
                                                           )

              NOTICE OF PARTIAL WITHDRAWAL OF DEBTORS’ FIRST
           (NON-SUBSTANTIVE) OMNIBUS OBJECTION TO CERTAIN CLAIMS
         THAT ARE (A) DUPLICATIVE OF A CLAIM FILED ON THE CLAIMANT’S
         BEHALF, (B) ON ACCOUNT OF EQUITY INTERESTS, OR (C) LATE FILED

          PLEASE TAKE NOTICE THAT the debtors and debtors in possession in the above-

captioned chapter 11 cases (collectively, the “Debtors”), hereby withdraw the Debtors’ First

(Non-Substantive) Omnibus Objection to Certain Claims that are (A) Duplicative of a Claim

Filed on the Claimant’s Behalf, (B) Filed on Account of Equity Interests, or (C) Late Filed (the

“Objection”) only as it relates to the proofs of claim filed by Fritz Walter (Claim No. 174);

Eleanor Berglund (Claim No. 203); and Stuart Silverstein (Claim No. 330) (each a “Subject

Claim” and collectively, the “Subject Claims”) solely to permit the Debtors’ claims and noticing

agent to process withdrawal forms for the Subject Claims.

          PLEASE TAKE FURTHER NOTICE THAT in the event any Subject Claim is not

withdrawn or is reinstated, the Debtors hereby reserve their rights to reinstate the Objection

and/or pursue any other applicable basis for objection as against any Subject Claim that is not



1 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: Quicksilver Resources Inc. (“Quicksilver”) [6163]; Barnett Shale Operating LLC [0257]; Cowtown
Drilling, Inc. [8899]; Cowtown Gas Processing L.P. [1404]; Cowtown Pipeline Funding, Inc. [9774]; Cowtown
Pipeline L.P. [9769]; Cowtown Pipeline Management, Inc. [9771]; Makarios Resources International Holdings LLC
[1765]; Makarios Resources International Inc. [7612]; QPP Holdings LLC [0057]; QPP Parent LLC [8748];
Quicksilver Production Partners GP LLC [2701]; Quicksilver Production Partners LP [9129]; and Silver Stream
Pipeline Company LLC [9384]. The Debtors’ address is 801 Cherry Street, Suite 3700, Unit 19, Fort Worth, Texas
76102.


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withdrawn or is reinstated. Nothing in this notice represents or should be construed as a waiver

of any rights that the Debtors may have with respect to the Objection or the Subject Claims and

the Debtors hereby expressly reserve all rights related thereto.


Wilmington, Delaware
Date: November 13, 2015                        /s/ Amanda R. Steele

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